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  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT COURT
                                                                 for the                                                    D ' r,   '-
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                                                   Southern District of Georgia
                                                      Waycross Division
                                                                                                           •   ••.
                    United States of America                   )
                                V.                             )
                                                               ) Case No: CR506-00005-006
                        Anthony Williams
                                                               ) USMNo: 12762-021
Date of Previous Judgment: November 29, 2007                   ) Edward F. Smith
(Use E)ute of Last Amended Judgment if Applicable)             ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of         the defendant flthe Director of the Bureau of Prisons     the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
             DENIED.              GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                              thelast judgment issued) of _________________ months is reduced to __________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                       22                     Amended Offense Level:                    22
Criminal History Category:                     I                     Criminal History Category:
Previous Guideline Range:               41       to 51 months        Amended Guideline Range          41 to 51 months
11. SENTENCE RELATIVE TO AMENDED GU1DELDE RANGE
   The reduced sentence is within the amended guideline range.
R  The  previous tenn of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
LJ Other (explain):



1!!. ADDITIONAL COMMENTS
Defendant was sentenced on November 29, 2007, and the Court correctly determined his offense level based on the
amended drug quantity table; therefore, the retroactive crack cocaine amendment is not applicable in his case.



Except as provided above, all provisions of the judgment dated ____________________ shall remain in effect.
IT IS SO ORDERED.

OrderDate:
                                                                                              'ssigtiire

                                                                     William T. Moore, Jr.
Effective Date: _______________________                              Chief Judge, U. S. District Court
                     (if different from order date)                                   Printed name and title
